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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                                       Civil Action No. 1:16cv00563-TSE-TCB
                Plaintiffs,

         vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

                Defendants.


                 CONSENT MOTION TO WITHDRAW MARY JOY ODOM
                          AS COUNSEL FOR PLAINTIFFS
         Pursuant to Local Rule 83.1(G), the undersigned attorney respectfully moves this Court for

 leave for Mary Joy Odom to withdraw as counsel for Plaintiffs Rosy Giron De Reyes, Jose

 Dagoberto Reyes, Felix Alexis Bolanos, Ruth Rivas, Yovana Jaldin Solis, Esteban Ruben Moya

 Yrapura, Rosa Elena Amaya, and Herbert David Saravia Cruz (“Plaintiffs”). In support of this

 motion, the undersigned attorney states as follows:

         1.     Mary Joy Odom appeared as counsel for Plaintiffs in this action on October 21,

 2016.

         3.     Mary Joy Odom is no longer associated with the law firm of Quinn Emanuel

 Urquhart & Sullivan, LLP.

         4.     Plaintiffs will continue to be represented by the remaining counsel of record for

 Plaintiffs.

         5.     Counsel for Plaintiffs conferred with Counsel for Defendants regarding this motion.
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 Counsel for Defendants have stated that they consent to this motion.

        6.     Accordingly, the undersigned attorney respectfully requests that Mary Joy Odom

 be granted leave to withdraw. A proposed Order is attached. Plaintiffs waive a hearing on this

 motion.



 DATED October 28, 2019.                   Respectfully submitted,

                                           /s/ K. Kevin Chu
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                                           SULLIVAN, LLP
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                                           Counsel for Plaintiffs
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                               CERTIFICATE OF SERVICE

 I hereby certify that on October 28, 2019, I caused the foregoing CONSENT MOTION TO
 WITHDRAW MARY JOY ODOM AS COUNSEL FOR PLAINTIFFS to be filed with the Clerk
 of the Court using the CM/ECF, which will send a Notice of Electronic Filing to all counsel of
 record in this action.


                                               /s/ K. Kevin Chu
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                                               Counsel for Plaintiffs
